               IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION

North Carolina Democratic Party,
                       Plaintiff,
               v.                                         Case No. 5:24-cv-699-M
North Carolina State Board of Elections, et al.,
                       Defendants.

Jefferson Griffin
                       Plaintiff,
               v.
North Carolina State Board of Elections,
                       Defendants,                        Case No. 5:24-cv-731-M
               and
Allison Riggs, VoteVets Action Fund, North Carolina
Alliance for Retired Americans, Sarah Smith, and
Juanita Anderson,
Intervenor-Defendants

Carrie Conley, Lockhart Webb, and Ella Kromm,
individually and on behalf of all others similarly
situated; Gabriela Adler-Espino; and the League of
Women Voters of North Carolina,

                       Plaintiffs,
               v.
                                                          Case No. 5:25-cv-193-M
Alan Hirsch, Jeff Carmon, Stacy Eggers IV, Kevin N.
Lewis, and Siobhan O’Duffy Millen, in their official
capacities as members of the North Carolina State
Board of Elections, and Karen Brinson Bell, in her
official capacity as Executive Director of the North
Carolina State Board of Elections,
                       Defendants.

  OPENING BRIEF OF PLAINTIFF NORTH CAROLINA DEMOCRATIC PARTY
                 PURSUANT TO APRIL 14, 2025, ORDER




     Case 5:24-cv-00731-M-RJ          Document 78      Filed 04/21/25   Page 1 of 32
                                                   TABLE OF CONTENTS

                                                                                                                                     Page

INTRODUCTION ...........................................................................................................................1
BACKGROUND .............................................................................................................................3
          A.         State-Court Proceedings...........................................................................................3
          B.         The Voters Targeted ................................................................................................6
          C.         NCDP’s Lawsuit ......................................................................................................6
          D.         The NCSBE’s Proposed Cure Process And Judge Griffin’s Mandamus Petition ...7
LEGAL STANDARD ......................................................................................................................8
ARGUMENT ...................................................................................................................................8
I.        Both The Cure Process That The State Courts Ordered And Discarding Any Votes
          Based On Judge’s Griffin’s Challenges Would Violate The Constitution ..........................8
          A.         Undue Burden ..........................................................................................................9
          B.         Procedural Due Process .........................................................................................12
          C.         Equal Protection .....................................................................................................17
II.       The Post-Election Measures The North Carolina Courts Adopted Violate The
          National Voter Registration Act ........................................................................................19
III.      Injunctive Relief Is Warranted ...........................................................................................20
          A.         NCDP Will Suffer Irreparable Harm Absent Relief ..............................................21
          B.         The Balance Of Hardships And Public Interest Favor An Injunction ...................22
CONCLUSION ..............................................................................................................................24
CERTIFICATE OF SERVICE ......................................................................................................26




                                                              i
         Case 5:24-cv-00731-M-RJ                        Document 78                Filed 04/21/25              Page 2 of 32
                                              TABLE OF AUTHORITIES

                                                                                                                              Page(s)
                                                              CASES

Aetna Casualty and Surety Co. v. Ind-Com Electric Co.,
       139 F.3d 419 (4th Cir. 1998) ...............................................................................................9

Amoco Production Co. v. Village of Gamble,
      480 U.S. 531 (1987) .............................................................................................................8

Anderson v. Celebrezze,
      460 U.S. 780 (1983) .............................................................................................................9

Arcia v. Florida Secretary of State,
       772 F.3d 1335 (11th Cir. 2014) .........................................................................................20

Arizona Democratic Party v. Hobbs,
       485 F.Supp.3d 1073 (D. Ariz. 2020), vacated on other grounds,
       18 F.4th 1179 (9th Cir. Dec. 8, 2021) ................................................................................13

Bennett v. Yoshina,
       140 F.3d 1218 (9th Cir. 1998) ...........................................................................................10

Burdick v. Takushi,
       504 U.S. 428 (1992) .......................................................................................................9, 10

Bush v. Gore,
       531 U.S. 98 (2000) (per curiam) ..................................................................................18, 19

Democracy North Carolina v. North Carolina State Board of Elections,
     476 F.Supp.3d 158 (M.D.N.C. 2020) ................................................................................13

Dunn v. Blumstein,
      405 U.S. 330 (1972) ...........................................................................................................18

eBay Inc. v. MercExchange, LLC,
       547 U.S. 388 (2006) .............................................................................................................8

Elrod v. Burns,
       427 U.S. 347 (1976) ...........................................................................................................22

Fuentes v. Shevin,
       407 U.S. 67 (1972) .............................................................................................................16

Griffin v. Burns,
        570 F.2d 1065 (1st Cir. 1978) ............................................................................................10


                                                             ii
         Case 5:24-cv-00731-M-RJ                       Document 78              Filed 04/21/25             Page 3 of 32
Griffin v. North Carolina State Board of Elections,
        No. 25-1018 (4th Cir. Feb. 4, 2025) (per curiam)................................................................5

Griffin v. North Carolina State Board of Elections,
        2025 WL 1090903 (N.C. Apr. 11, 2025) ...................................................................5, 6, 12

Griffin v. North Carolina State Board of Elections,
        2025 WL 1021724 (N.C. Ct. App. Apr. 4, 2025) ................................................3, 5, 15, 18

Griffin v. North Carolina State Board of Elections,
        No. 24CV040620-910 (Wake Cnty. Sup. Ct.) .............................................................14, 24

Harper v. Virginia State Board of Elections,
      383 U.S. 663 (1966) .......................................................................................................9, 13

Hendon v. North Carolina State Board of Elections,
      710 F.2d 177 (4th Cir. 1983) .......................................................................................10, 11

Kendall v. Balcerzak,
      650 F.3d 515 (4th Cir. 2011) .............................................................................................13

League of Women Voters of North Carolina v. North Carolina,
      769 F.3d 224 (4th Cir. 2014) .............................................................................................22

Legend Night Club v. Miller,
      637 F.3d 291 (4th Cir. 2011) .............................................................................................23

Majority Forward v. Ben Hill County Board of Elections,
       512 F.Supp.3d 1354 (M.D. Ga. 2021) ...............................................................................20

Mathews v. Eldridge,
      424 U.S. 319 (1976) ...........................................................................................................13

Mayor of Baltimore v. Azar,
      973 F.3d 258 (4th Cir. 2020) ...............................................................................................8

McLaughlin v. North Carolina Board of Elections,
     65 F.3d 1215 (4th Cir. 1995) .............................................................................................10

Merrill v. Milligan,
       142 S.Ct. 879 (2022) ..........................................................................................................12

New York Times Co. v. United States,
      403 U.S. 713 (1971) ...........................................................................................................22




                                                           iii
         Case 5:24-cv-00731-M-RJ                      Document 78               Filed 04/21/25             Page 4 of 32
Nken v. Holder,
       556 U.S. 418 (2009) ...........................................................................................................23

North Carolina State Conference of NAACP v. Bipartisan Board of Elections and
       Ethics Enforcement,
       2018 WL 3748172 (M.D.N.C. Aug. 7, 2018) ....................................................................20

North Carolina State Conference of NAACP v. Cooper,
       430 F.Supp.3d 15 (M.D.N.C. 2019) ..................................................................................23

North Carolina State Conference of NAACP v. McCrory,
       831 F.3d 204 (4th Cir. 2016) .............................................................................................14

Northampton County Drainage District Number One v. Bailey,
      326 N.C. 742, 392 S.E.2d 352 (1990) ..........................................................................14, 18

Obama for America v. Husted,
     697 F.3d 423 (6th Cir. 2012) .............................................................................................23

Pisano v. Strach,
       743 F.3d 927 (4th Cir. 2014) .........................................................................................9, 11

Pitrolo v. County of Buncombe,
        589 F.App’x 619 (4th Cir. Oct. 20, 2014) ...........................................................................9

Purcell v. Gonzales,
       549 U.S. 1 (2006) (per curiam) ....................................................................................12, 23

Reynolds v. Sims,
      377 U.S. 533 (1964) .......................................................................................................9, 23

Republican National Committee v. North Carolina State Board of Elections,
       120 F.4th 390 (4th Cir. 2024) ............................................................................................20

Rum Creek Coal Sales, Inc. v. Caperton,
      926 F.2d 353 (4th Cir. 1991) .............................................................................................22

United States v. Classic,
       313 U.S. 299 (1941) ...........................................................................................................14

United States v. Klamath Drainage District,
       2025 WL 262346 (9th Cir. Jan. 22, 2025) .........................................................................23

Washington State Grange v. Washington State Republican Party,
      552 U.S. 442 (2008) .............................................................................................................9




                                                           iv
         Case 5:24-cv-00731-M-RJ                      Document 78               Filed 04/21/25             Page 5 of 32
Wolf v. Fauquier County Board of Supervisors,
        555 F.3d 311 (4th Cir. 2009) .............................................................................................16

                          CONSTITUTIONS, STATUTES, AND REGULATIONS

U.S. Const.
       amend I.......................................................................................................................6, 9, 12
       amend XIV ...........................................................................................................6, 9, 12, 17

28 U.S.C. §2201 ...............................................................................................................................8

52 U.S.C. §20507 ...........................................................................................................................19

N.C. Gen. Stat.
      §163-89 ..........................................................................................................................4, 17
      §163-166.16 .......................................................................................................................14
      §163-258.2 .......................................................................................................................4, 5
      §163-258.4 .........................................................................................................................14
      §163-258.13 .......................................................................................................................14
      §163-258.17 .........................................................................................................................5
      §163-258.26 .........................................................................................................................4

8 N.C. Admin. Code 17.0109(d) ......................................................................................................5

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       Mischief’, Wash. Post (Jan. 8, 2025), https://www.washingtonpost.com/
       politics/2025/01/08/gop-election-challenge-north-carolina/..............................................24

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      Attempt to Throw out Ballots, NC Newsline (Jan. 24, 2025),
      https://tinyurl.com/47kkmmfw ..........................................................................................24

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       2024), https://www.propublica.org/article/jefferson-griffin-north-carolina-
       supreme-court-challenge-election-integrity-network ........................................................24

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       slam GOP-backed efforts to toss ballots, WRAL News (Feb. 5, 2025),
       https://tinyurl.com/e86uzz5e ................................................................................................1

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       (Feb. 6, 2025), https://www.nytimes.com/2025/02/06/opinion/north-
       carolina-supreme-court.html ..............................................................................................24

Letter to Judge Jefferson Griffin (Mar. 18, 2025), https://tinyurl.com/4xpk7ar7..........................24


                                                               v
         Case 5:24-cv-00731-M-RJ                         Document 78                 Filed 04/21/25              Page 6 of 32
                                        INTRODUCTION

        Last fall, millions of eligible North Carolina voters—including thousands of members of

our armed forces and overseas voters—exercised their fundamental right to vote in federal and

state elections. One of those elections was for Associate Justice of the North Carolina Supreme

Court, a race between incumbent Justice Allison Riggs and North Carolina Court of Appeals Judge

Jefferson Griffin. Justice Riggs won that election by hundreds of votes, according to both the

initial results and multiple recounts. But Judge Griffin has litigated ever since to overturn the will

of the people by disenfranchising voters through retroactive changes to state election laws. And

even though he has presented no evidence that even a single North Carolina voter was ineligible

or voted improperly under the rules in place when they cast their ballots, the state appellate courts

have approved his strategy by altering the rules after the election—and as a result ordering the

state elections board to discard the votes of hundreds (and potentially thousands) of registered

military servicepeople and overseas citizens who followed the state’s rules for registering and

voting in effect at the time.

        The state courts, moreover, have denied some of those voters any opportunity to

demonstrate their ballots should not be discarded (including because, as has been publicly reported,

they were identified in error). And even as to those voters who have been given a short window

in which to prove (five months after the election) that there is no basis to disenfranchise them, it

will often be surpassingly difficult or outright impossible for them to do so. To take only one

example, U.S. Army Captain Rebecca Lobach, whose vote Judge Griffin contends should be

discarded unless she provides photo identification in the next month or so, died on duty in January

when her army helicopter collided with a passenger jet over Washington, D.C. See Doran, ‘Our

Democracy Is Just a Sham’: NC Lawmakers Who Served in the Military Slam GOP-Backed Efforts




                                               1
      Case 5:24-cv-00731-M-RJ            Document 78        Filed 04/21/25      Page 7 of 32
to Toss Ballots, WRAL News (Feb. 5, 2025), https://tinyurl.com/e86uzz5e. Countless others may

similarly be unable to defend the votes they cast last fall—and it is grossly unreasonable to demand

that they do so.

       It is also illegal. Indeed, such post-election disenfranchisement of voters who cast their

ballots in reliance on, and in compliance with, the state’s own election rules in place at the time,

would brazenly violate federal law—particularly because Judge Griffin has strategically targeted

only selected groups of voters (whom he assumes will skew Democratic), while sparing similarly

situated voters who are not assumed to have the same leaning.                      Specifically, the

disenfranchisement would violate the Constitution three times over: imposing an undue burden on

the right to vote, depriving people of that right without procedural due process, and violating equal

protection by treating similarly situated voters differently for no good reason. And if more were

needed, the post-hoc widespread deprivation of North Carolinians’ fundamental right to vote

would also violate the National Voter Registration Act (NVRA), which bars states from last-

minute (much less after-the-fact) mass denials of the franchise. Consistent with the Fourth

Circuit’s express direction to this Court to retain jurisdiction over the relevant federal-law issues—

and to decide them, to the extent necessary, upon conclusion of the state-court proceedings—the

Court should safeguard North Carolinians’ federal rights, vindicate federal law, and finally put an

end to Judge Griffin’s misguided efforts. And it should do so now, rather than after any cure

process takes place, because that process itself violates federal law.

       In particular, the Court should grant declaratory relief as well as a permanent injunction

against conducting any cure process or discarding any ballots based on Judge Griffin’s challenges.

An injunction is warranted because plaintiff—the North Carolina Democratic Party (NCDP)—has

shown that federal law prohibits either discarding votes based on Judge Griffin’s remaining




                                               2
      Case 5:24-cv-00731-M-RJ            Document 78        Filed 04/21/25      Page 8 of 32
challenges or subjecting select classes of voters to the post-election remedial process that state

officials are poised to commence. Without an injunction, moreover, NCDP will be irreparably

harmed, with its members disenfranchised and some forced to undergo an unduly burdensome and

selectively targeted (i.e., discriminatory) “cure” process several months after the election. By

contrast, neither Judge Griffin nor the North Carolina State Board of Elections (Board or NCSBE)

would suffer any cognizable harm from an injunction, because there is no legitimate interest in

altering the rules of the election months after it is over. Finally, the public has a strong interest in

ensuring elections are fair and honest, which means not changing the rules after the fact in order

to disenfranchise strategically targeted groups of North Carolinians who followed the rules in place.

        This Court should declare that the post-election measures the state courts have ordered

violate federal law and permanently enjoin state election officials from carrying out any “cure”

process, discarding any votes, or certifying the election for Judge Griffin.

                                          BACKGROUND

        A.      State-Court Proceedings

        A state-wide canvass and several recounts showed that last fall, Justice Riggs won re-

election as associate justice of the North Carolina Supreme Court, defeating Judge Griffin. See

Griffin v. NCSBE, 2025 WL 1021724, at *1 (N.C. Ct. App. Apr. 4, 2025). Dissatisfied, Judge

Griffin filed multiple election protests (the “Protests”) claiming that the ballots of thousands of

voters should not be counted—including (1) approximately 260 ballots “cast by overseas citizens

who have not resided in North Carolina but whose parents or legal guardians were eligible North

Carolina voters before leaving the United States,” and (2) approximately 1,400 ballots cast in just

one of North Carolina’s 100 counties (Guilford) “by military or overseas citizens …, when those

ballots were not accompanied by a photocopy of a photo ID or ID Exception Form.” See Ex.A to

Second Am. Compl. at 2 (Dkt.5:24-cv-699, D.E.35-1). After the state-law deadline to file protests


                                               3
      Case 5:24-cv-00731-M-RJ            Document 78         Filed 04/21/25       Page 9 of 32
had passed, Judge Griffin amended his protests to add, in the second of these two categories,

several other Democratic-leaning counties, thereby targeting a total of more than 5,500 military or

overseas voters. See Ex.1 (Lawson Supp. Decl.) ¶11; Exs.H, I, J to Second Am. Compl. (Dkt.5:24-

cv-699, D.E.35-8, D.E.35-9, D.E.35-10).1

         Judge Griffin did not bring either of these two categories of challenges before or during

the election—even though under North Carolina law, if a private party believed that a military or

overseas voter was not eligible to vote, the party was required to challenge the person’s ballot by

5:00 pm on the business day after the deadline for receipt of absentee ballots. N.C. Gen. Stat.

§163-258.26(d) (incorporating §163-89). Such a challenger must come forward with affirmative,

individualized proof that the person is ineligible to cast a ballot at the relevant time, and the person

must be afforded notice and an opportunity to be heard when challenged. Id. §§163-89, 163-90.1.

         Voters targeted by the first category of challenges—again, U.S. citizens living overseas

who have not resided in North Carolina but whose parents or legal guardians were eligible North

Carolina voters before leaving the United States—had the right to vote under a state statute, which

expressly included them in the definition of “[c]overed voter.” See N.C. Gen. Stat. §163-

258.2(1)(e). And voters targeted by the second category—again, military or overseas voters who

voted without providing photo identification with their absentee ballots—had the right to vote

without providing photo identification, as state law provided that they were “not required to submit

a photocopy of acceptable photo identification.” 8 N.C. Admin. Code 17.0109(d); see also N.C.

Gen. Stat. §§163-258.2, 163-258.17(b).

         The NCSBE dismissed Judge Griffin’s Protests based largely on federal law. See Griffin v.

NCSBE, No. 25-1018 at 1 (4th Cir. Feb. 4, 2025) (per curiam) (D.E.30). But Judge Griffin



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    Where it appears without a docket number, “D.E.” refers to entries on docket 5:24-cv-731.

                                               4
        Case 5:24-cv-00731-M-RJ          Document 78        Filed 04/21/25       Page 10 of 32
continued to press them, filing several state-court appeals, which were removed to this Court. See

id. This Court remanded those appeals without retaining jurisdiction over the federal-law issues,

but the Fourth Circuit reversed in part, ordering this Court to retain jurisdiction over Judge

Griffin’s removed direct appeal until final resolution in state court (including any appeals) to

ensure federal resolution of the “federal constitutional issues” at stake. Id. at 9. Judge Griffin then

proceeded against the NCSBE and Justice Riggs in state court, where the defendants reserved their

right to a federal forum to adjudicate the federal issues.             See, e.g., Notice of Fourth

Circuit Opinion and England Reservation By Justice Riggs (D.E.39-2). The trial court upheld the

Board’s rejection of Judge Griffin’s challenges, but a divided panel of the Court of Appeals

reversed, see 2025 WL 1021724 (N.C. Ct. App. Apr. 4, 2025). Justice Riggs and the NCSBE then

sought review by the state supreme court.

       On April 11, the North Carolina Supreme Court issued its decision in the consolidated

Griffin cases. It denied review as to the overseas voters who had registered based on their parents’

state residence, i.e., the people—whom Judge Griffin calls “never residents”—targeted by the first

category of Judge’s Griffin’s protests. Griffin v. NCSBE, 2025 WL 1090903, at *3 (N.C. Apr. 11,

2025). That denial left in place the North Carolina Court of Appeals ruling ordering the Board to

identify and exclude those people’s votes, 2025 WL 1021724, at *3. The state supreme court also

largely denied review as to the targets of Judge Griffin’s second category (military and overseas

voters who did not provide photo identification with their ballots), agreeing that their votes should

be excluded unless they promptly “cured” by providing photo identification five months after the

election, but “expand[ing] the period to cure deficiencies” set by the state court of appeals “from

fifteen business days to thirty calendar days after the mailing of notice.” Griffin, 2025 WL

1090903, at *3. The state supreme court did not state whether its decision applies only to voters




                                              5
      Case 5:24-cv-00731-M-RJ           Document 78         Filed 04/21/25      Page 11 of 32
in Guilford County or also to the nearly 4,000 voters from additional Democratic-leaning counties

that Judge Griffin added after the protest deadline. Id.

       B.      The Voters Targeted

       As mentioned, Judge Griffin’s protests seek to target more than 5,500 North Carolina

voters. Lawson Supp. Decl. ¶¶11, 29. Despite the NCSBE’s plan to carry out a verification or

cure campaign as to only the approximately 1,660 votes that Judge Griffin timely challenged

(D.E.61), he continues to protest more than around 5,500 votes (including those he protested after

the relevant deadline) in the North Carolina state courts (D.E.76-1). His lists of targeted voters

appear to contain numerous inaccuracies. Multiple voters on his “never residents” list have been

reported or identified as having lived in or maintained a permanent residence in North Carolina.

Lawson Supp. Decl. ¶¶26, 28-31. One such voter is Josiah Young, who was studying abroad

during the 2024 general election but maintains a permanent residence in Jackson County. Id. ¶28b.

Some other voters on Judge Griffin’s list reside in, and may have resided in, North Carolina when

they cast their ballots. Id. ¶¶28-31. Based on publicly available information NCDP has been able

to obtain, at least 32 of the approximately 260 voters named by this category of protests—more

than 10%—appear to have been wrongfully accused of being “never residents.” Id. ¶29.

       C.      NCDP’s Lawsuit

       NCDP sued the NCSBE and its members in December 2024, see Dkt.5:24-cv-699, D.E.1.

The operative complaint alleges that selectively discarding votes and subjecting voters to a cure

process more than five months after voters cast their ballots in accordance with the guidance they

received from the state violates the First and Fourteenth Amendments, and the NVRA, id., D.E.35.

       Shortly after the North Carolina Supreme Court’s April 11 ruling (discussed above), NCDP

asked this Court to “temporarily restrain and preliminarily enjoin the NCSBE from carrying out




                                             6
     Case 5:24-cv-00731-M-RJ           Document 78         Filed 04/21/25   Page 12 of 32
any ‘cure’ process, discarding any votes, or … certifying the election for Judge Griffin, so that

federal courts can determine whether doing so violates federal law before the irreparable harm is

inflicted.” Dkt.5:24-cv-699, D.E.37 at 9. This Court granted NCDP’s motion in part, stating that

“Defendants are ORDERED to proceed in accordance with” the state-court rulings requiring

NCSBE to begin discarding and/or curing votes “but SHALL NOT certify the results of the

election, pending further order of this court.” Id. Text Order (Apr. 14, 2025). The Court also

consolidated NCDP’s lawsuit with Judge Griffin’s direct appeal from NCSBE’s order denying his

protests and with a lawsuit voters filed. Id., Text Order (Apr. 14, 2025).

       D.      The NCSBE’s Proposed Cure Process And Judge Griffin’s Mandamus
               Petition

       As this Court ordered, NCSBE filed a notice of its proposal (D.E.61) to comply with the

state supreme court opinion. According to the proposal, NCSBE has interpreted the state appellate

courts’ orders as applying only to ballots targeted by Judge Griffin’s timely protests (i.e., the

approximately 260 ballots cast in reliance on parental residence and the approximately 1,400

military and overseas ballots cast without photo identification in Guilford County). Id. at 2-3. The

NCSBE explained that the voters who Judge Griffin says had to submit photo identification with

their ballots could not have done so “[b]ecause the online portal” through which many of those

voters cast their ballots “is not currently configured to accept attachments.” Id. at 3 n.3. It also

stated that Judge Griffin’s protests listed certain names “several times,” id. at 2 n.1, and named as

“never residents” several voters who reportedly have lived in North Carolina, id. at 4 n.6 (citing

sources).

       The proposal states that the NCSBE “intends to instruct” county boards to take certain steps

to confirm that the protests do not name anyone in error. D.E.61 at 3-4. The NCSBE then intends




                                             7
     Case 5:24-cv-00731-M-RJ           Document 78        Filed 04/21/25      Page 13 of 32
to direct counties to notify voters that their votes will be discarded if they do not take certain

enumerated steps. Id. at 6-7. It does not address ballots cast by voters who have died since voting.

       Judge Griffin has sought mandamus from the North Carolina Court of Appeals (D.E.76-1),

challenging NCSBE’s plan as not compliant with the state-court decisions. The petition remains

pending, so the ultimate scope and terms of the cure process the state courts ordered remain

uncertain.

                                      LEGAL STANDARD

       A permanent injunction is warranted if plaintiff has shown (1) “‘actual success’” on the

merits, (2) “‘an irreparable injury’” that “‘remedies available at law … are inadequate to

compensate’” (3) that “‘the balance of hardships between the plaintiff and defendant’” warrants

“‘a remedy in equity,’” and (4) that an injunction would not disserve the public interest. Mayor of

Baltimore v. Azar, 973 F.3d 258, 274 (4th Cir. 2020) (quoting Amoco Production Co. v. Village of

Gamble, 480 U.S. 531, 546 n.12 (1987), and eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391

(2006)).

       This Court has considerable discretion under 28 U.S.C. §2201 to grant declaratory relief

where it will “‘clarify important issues of law’” or afford “‘relief from uncertainty, insecurity, and

controversy giving rise to the proceeding.’” Pitrolo v. County of Buncombe, 589 F.App’x 619,

627-628 (4th Cir. Oct. 20, 2014) (quoting Aetna Casualty and Surety Co. v. Ind-Com Electric Co.,

139 F.3d 419, 422-424 (4th Cir. 1998)).

                                           ARGUMENT

I.     BOTH THE CURE PROCESS THAT THE STATE COURTS ORDERED AND DISCARDING
       ANY VOTES BASED ON JUDGE’S GRIFFIN’S CHALLENGES WOULD VIOLATE THE
       CONSTITUTION

       As this Court has explained, “state regulation of state and local elections remains subject

to federal constitutional constraints.” Order at 7 n.4 (Dkt.24-cv-724, D.E.50) (citing Washington


                                              8
      Case 5:24-cv-00731-M-RJ           Document 78        Filed 04/21/25      Page 14 of 32
State Grange v. Washington State Republican Party, 552 U.S. 442, 451 (2008)). And federal law

recognizes that the right to vote “‘is a fundamental matter in a free and democratic society,’” a

right “‘preservative of other basic civil and political rights.’” Harper v. Virginia State Board of

Elections, 383 U.S. 663, 667 (1966) (quoting Reynolds v. Sims, 377 U.S. 533, 561-562 (1964)).

Deprivation of that right here, through the retroactive discounting of ballots pursuant to post-

election rule changes—even if done after imposing post-election “cure” measures—would unduly

burden the right to vote, violate procedural due process, and deny targeted voters equal protection

of the laws. So would subjecting voters to the cure process itself. Both should be declared

unlawful and enjoined.

       A.      Undue Burden

       State laws that burden the right to vote violate the First and Fourteenth Amendments unless

relevant and legitimate state interests of sufficient weight justify the burden.      Anderson v.

Celebrezze, 460 U.S. 780, 788-790 (1983); Burdick v. Takushi, 504 U.S. 428, 434 (1992).

“[E]lection laws that impose a severe burden on ballot access are subject to strict scrutiny, and a

court applying strict scrutiny may uphold the restrictions only if they are ‘narrowly drawn to

advance a state interest of compelling importance.’” Pisano v. Strach, 743 F.3d 927, 933 (4th Cir.

2014) (quoting McLaughlin v. North Carolina Board of Elections, 65 F.3d 1215, 1220 (4th Cir.

1995)); see also Burdick, 504 U.S. at 434.

       Case law shows that the post-election discarding of ballots that voters cast pursuant to the

state law that was in place before and during an election unduly burdens the right to vote. For

example, in a First Circuit case that the Fourth Circuit has described as reflecting “settled” law

(Hendon v. North Carolina State Board of Elections, 710 F.2d 177, 182 (4th Cir. 1983)), the court

held that Rhode Island’s after-the-fact discarding of ballots cast by voters who “were doing no




                                             9
     Case 5:24-cv-00731-M-RJ           Document 78       Filed 04/21/25      Page 15 of 32
more than following the instructions of the officials charged with running the election” amounted

“to a fraud upon the absent voters” that was unconstitutional, Griffin v. Burns, 570 F.2d 1065,

1074-1075 (1st Cir. 1978). In particular, the First Circuit held, the state could not invalidate

absentee ballots already cast on the ground that such ballots were never constitutionally or

statutorily authorized for party primaries, when the issuance of such ballots in party primaries had

been a longstanding practice. Id. at 1066-1067. As the First Circuit recognized, when a state

reneges on its promise that voters’ ballots will count, due process is violated because the right

“involves the appearance of fairness as well as actual fairness.” Id. at 1079. Similarly, in Bennett

v. Yoshina, 140 F.3d 1218 (9th Cir. 1998), the Ninth Circuit explained that a substantive-due-

process violation occurs if there is “(1) likely reliance by voters on an established election

procedure and/or official pronouncements about what the procedure will be in the coming election;

and (2) significant disenfranchisement that results from a change in the election procedures,” id.

at 1226-1227. These cases are consistent with the Fourth Circuit’s observation that “[c]ourts have

imposed a duty on parties having grievances based on election laws to bring their complaints

forward for pre-election adjudication” because “failure to require pre-election adjudication would

permit, if not encourage, parties who could raise a claim to lay by and gamble upon receiving a

favorable decision of the electorate and then, upon losing, seek to undo the ballot results in a court

action.” Hendon, 710 F.2d at 182 (quotation marks omitted).

       The principles all these cases embody apply here. Indeed, “undo[ing] the ballot results in

a court action,” Hendon, 710 F.2d at 182, is exactly what Judge Griffin seeks. And declining to

count registered voters’ ballots due to an administrative “error” that was induced by the state—not

including a photocopy of a photo ID with an overseas mail-in ballot—unquestionably imposes a

severe burden on the right to vote. So does not counting the vote of an overseas voter who, under




                                              10
      Case 5:24-cv-00731-M-RJ           Document 78        Filed 04/21/25      Page 16 of 32
then-current state law, could vote based on her parents’ North Carolina residence. The state cannot

change the rules after an election to deny the fundamental right to vote to those who followed the

rules in place before and during the election. North Carolina surely could not now decide, for

example, that it is only going to count the votes of those who voted by absentee ballot rather than

in person (or vice-versa).

        That some voters may have a chance to prevent their votes from being discarded does not

alter the undue-burden analysis. Being subjected to such a verification process five months after

votes have been cast and counted (and recounted) is itself a “severe burden on ballot access,”

Pisano, 743 F.3d at 933. That is particularly true given that this is no ordinary “cure” procedure,

a term that suggests a voter did something wrong. It is a demand that voters who were told that

they were eligible to vote and could cast their ballots in a particular way (i.e., from overseas via a

state-created system that relied on voter attestation and did not allow for—let alone require—them

to submit photo identification, D.E.61 at 3 n.3) nonetheless provide supplemental proof of their

identity to the state in order for their votes in one particular election to actually count.

        Supreme Court cases cautioning federal courts against altering state election laws shortly

before an election confirm the undue burden that would be imposed by changing election rules

now. As the Court recognized in Purcell v. Gonzales, 549 U.S. 1 (2006) (per curiam), “[c]ourt

orders affecting elections, especially conflicting orders, can themselves result in voter confusion

and consequent incentive to remain away from the polls. As an election draws closer, that risk

will increase,” id. at 4-5. “That principle—known as the Purcell principle—reflects a bedrock

tenet of election law: When an election is close at hand, the rules of the road must be clear and

settled. Late judicial tinkering with election laws can lead to disruption and to unanticipated and

unfair consequences for candidates, political parties, and voters, among others.” Merrill v.




                                               11
      Case 5:24-cv-00731-M-RJ            Document 78        Filed 04/21/25       Page 17 of 32
Milligan, 142 S.Ct. 879, 880-881 (2022) (Kavanaugh, J., concurring in grant of stay applications).

Here, the rules are being changed more than five months after the election, far later than Purcell

would kick in to prevent eve-of-election changes.

       No sufficiently weighty state interest justifies changing the rules that govern the election

after voters have cast their votes, whether those changes result in the wholesale discarding of votes

or requiring voters to provide identification. While states have an interest in ensuring that only

qualified and registered individuals vote in elections, that interest must be addressed through rules

and procedures put in place before and during an election, not retroactively added months after so

as to change who is qualified to vote. Moreover, North Carolina has no interest in—and in fact

has a strong interest against—inflicting the significant harm that would flow from retroactively

disenfranchising voters who registered and voted in reliance on the state’s instructions. Common

sense and basic fairness confirm that conclusion. Indeed, the North Carolina Supreme Court itself

explained that under its “longstanding precedent, mistakes made by negligent election officials …

‘will not deprive [citizens] of [their] right to vote or render [their] vote[s] void after [they have]

been cast.’” Griffin, 2025 WL 1090903, at *2 (quotation marks omitted) (alterations in original).

But now, absent federal-court intervention, the state will unduly burden the voting rights of NCDP

members, in violation of the First and Fourteenth Amendments. Such conduct should be enjoined.

       B.      Procedural Due Process

       Even if it were ever permissible to retroactively change the rules after an election in order

to discard ballots, it is not permissible here because the affected voters will not have been provided

adequate process. That is an independent constitutional violation.

       A procedural-due-process violation exists where state action deprives someone of “a

cognizable liberty or property interest”—here, the undeniable interest in exercising one’s




                                              12
      Case 5:24-cv-00731-M-RJ           Document 78        Filed 04/21/25      Page 18 of 32
constitutionally protected right to cast a ballot that will be counted, see Harper, 383 U.S. at 667—

and “the procedures employed were constitutionally inadequate,” Kendall v. Balcerzak, 650 F.3d

515, 528 (4th Cir. 2011) (quotation marks omitted). To evaluate the latter question, i.e., whether

procedural protections were adequate, courts examine (1) “the private interest that will be

affected”; (2) “the risk of an erroneous deprivation of such interest through the procedures used,

and the probable value, if any, of additional or substitute procedural safeguards”; and (3) “the

Government’s interest, including the function involved and the fiscal and administrative burdens

that the additional or substitute procedural requirement would entail.” Mathews v. Eldridge, 424

U.S. 319, 335 (1976). Applying those factors here confirms that the relief ordered by the state

courts violates procedural due process.2

       1.      The private interest at stake is extremely strong. “No right is more precious in a

free country than that of having a voice in the election of those who make the laws.” North

Carolina State Conference of NAACP v. McCrory, 831 F.3d 204, 241 (4th Cir. 2016). The action

ordered by the state courts threatens that right, which encompasses voters’ right both to “cast their

ballots” and to “have them counted.” United States v. Classic, 313 U.S. 299, 315 (1941).

       2.      Under the state appellate courts’ decisions, there is a serious risk of erroneous

deprivations of the right to vote. For starters, Judge Griffin has not claimed that even one of the

military and overseas voters who did not provide photo ID is not who the voter claimed to be. See

N.C. Gen. Stat. §163-166.16(g) (explaining this to be the purpose of photo identification); Ex.2


2
  “Multiple district courts” have applied Mathews to “procedural due process challenges to election
regulations.” Arizona Democratic Party v. Hobbs, 485 F.Supp.3d 1073, 1093 (D. Ariz. 2020)
(collecting cases), vacated on other grounds, 18 F.4th 1179 (9th Cir. Dec. 8, 2021). One court in
this circuit, for example, did so with a procedural-due-process challenge to a North Carolina law
governing absentee ballots. See Democracy North Carolina v. NCSBE, 476 F.Supp.3d 158, 228-
229 (M.D.N.C. 2020). And even if such a challenge were properly analyzed under the undue-
burden framework, there would still be a procedural-due-process violation for the reasons that
follow (and those explained in the prior section).

                                             13
     Case 5:24-cv-00731-M-RJ           Document 78        Filed 04/21/25      Page 19 of 32
at 43 (State Board’s Opposition to Petition for Judicial Review, Griffin, No. 24CV040620-910

(Wake County Sup. Ct. Feb. 3, 2025)). And all of those voters were required, when casting their

ballots, to sign a declaration under penalty of perjury attesting to their eligibility to vote and their

identity. See N.C. Gen. Stat. §§163-258.4(e), 163-258.13. While the NCSBE’s “intended”

approach to the cure process could alleviate some (but certainly not all) of the risk of error,

moreover, Judge Griffin’s challenge to that approach remains pending in state court, supra p.8, so

the ultimate terms of the remedial process remain unclear. Regardless, absent federal intervention,

eligible voters may lose their right to cast a vote that will be counted unless all the stars happen to

align.

          In particular, under the Board’s current proposal, voters targeted by the second category of

Protests must—unless Guilford County independently determines they were listed in error—

(1) actually receive a mailing the Board sends them, which will require not only that the Board

have the correct mailing information but also that the likely-international mailing not be unduly

delayed and the voter not be indisposed during the narrow cure period (e.g., because she is actively

engaged in military operations); (2) have on hand the necessary proof of eligibility the Board is

demanding (or be able to procure it very quickly); (3) be in a position to photocopy that information

or fill out an exception form; and (4) be able to successfully return that information to the Board—

all in just 30 days. See Lawson Supp. Decl. ¶¶21-22, 33-35.

          That will be difficult or impossible for many voters. Some of these voters live at far-flung

addresses, where there is no telling how long it will take the written notice from the NCSBE to

arrive. Lawson Supp. Decl. ¶22. This is all the more concerning because the 30-calendar-day cure

clock runs not from receipt of the notice but from when the notice is mailed. Id. ¶34. On military

bases, for example, mail delivery is often delayed for security purposes. Id. And Plaintiff NCDP




                                               14
         Case 5:24-cv-00731-M-RJ         Document 78        Filed 04/21/25       Page 20 of 32
has no way to door-to-door canvass voters stationed or living abroad, to easily phone bank

international numbers, or to conduct targeted and systematic email outreach because the NCSBE’s

email database is not made publicly available under state law. Id. ¶22.

       Some of these voters no longer reside at the same address they did in November 2024. For

example, many voters who cast an overseas ballot were students studying abroad during the fall

semester and may no longer receive mail at their temporary overseas address. Lawson Supp. Decl.

¶35. And if these voters are registered to vote at their on-campus mailing address, they will not

have access to that address when the spring semester ends and they leave campus for the summer

(likely in April or May). Id.

       Some of these voters have passed away since casting their ballot in the 2024 election. As

discussed above, Captain Lobach, a Durham resident, cast her ballot in accordance with the laws

in effect during the 2024 general election, but tragically died on January 29, 2025, aboard a military

helicopter that collided with a passenger plane near Reagan Washington National Airport. Lawson

Supp. Decl. ¶21. But the NCSBE has not put forth a plan to contact the families or estates of

deceased voters about the need or method for a cure, and the state courts have not ordered it to do

so. Id. ¶33.

       And even if all necessary steps happen for voters in the second category of Protests, the

lack of any articulated process for voters to appeal a determination that the information submitted

does not suffice to “cure” further heightens the risk of erroneous deprivations.

       That risk is even higher for the hundreds of voters (the so-called never-residents) who are

not guaranteed, under the state appellate courts’ orders, to be sent any notice before their ballots

are discarded, let alone afforded any opportunity to challenge the determination that they were

properly named in that Protest. See Griffin, 2025 WL 1021724, at *15. Although the Board has




                                              15
      Case 5:24-cv-00731-M-RJ           Document 78        Filed 04/21/25      Page 21 of 32
announced plans to determine whether any voters were placed on the list in error (as has been

reported), see D.E.61 at 4 n.6, that is not guaranteed, especially in light of Judge Griffin’s pending

mandamus petition. And binding precedent establishes that procedures are typically inadequate

where “notice and an opportunity to be heard” are not guaranteed. Wolf v. Fauquier County Board

of Supervisors, 555 F.3d 311, 323 (4th Cir. 2009); see also Fuentes v. Shevin, 407 U.S. 67, 80-81

(1972). Even according to the NCSBE’s current proposal, moreover, voters in this category can

prevent removal of their ballots from the vote count only if they can timely receive, complete, and

submit an affidavit attesting they were improperly named as “never residents” (unless a county

board independently reviews historical records to determine that they were listed in error). See

D.E.61 at 4. This, again, will be difficult or impossible for many voters, such as those who have

died, moved, cannot be contacted, or cannot access a computer or postal services.

        3.       As explained in the undue-burden argument, North Carolina has no valid interest

either in disenfranchising eligible voters or in unfairly changing the rules after an election in order

to do so. And while it has an interest in ensuring that only qualified and eligible people vote in its

elections, that does not justify after-the-fact disenfranchisement, especially based on post-hoc

changes in election law. Nor does it justify failing to provide adequate procedural protections

(including sufficient notice and a meaningful opportunity to be heard) before denying people their

right to vote.

        Requiring additional or substitute process would also not unreasonably burden the state,

because state law already establishes a system for providing notice and an opportunity to be heard:

North Carolina’s ordinary challenge and protest processes guarantee voters meaningful notice and

an individualized hearing at which a voter whose eligibility or identification is challenged has an

opportunity to attest that she is qualified to vote or to cast a valid vote before her ballot is counted.




                                               16
      Case 5:24-cv-00731-M-RJ            Document 78         Filed 04/21/25       Page 22 of 32
See N.C. Gen. Stat. §163-89. There is no reason such a process could not have worked here, and

voters should not have to undergo a constitutionally inadequate process because Judge Griffin

failed to challenge these voters before the results were canvassed. Alternatively, the individualized

process available pre-election could be used post-election. While that may be costly, the costs

cannot be viewed as overly burdensome, since state law provides for such hearings pre-election.

In any event, costs cannot control the analysis; surely if, for example, Republican candidates

protested every Democratic voter’s ballot, the strong interest in avoiding a partisan voter purge

would justify additional processes to ensure no mistakes are made. Likewise, that individualized

hearings may extend the process is not dispositive. The scale of the threatened disenfranchisement

heightens the need for more process, even if the costs—in money and time—would be significant.

At the very minimum, it would not unduly burden the state to allow voters more than 30 days to

provide photo identification.

       Balancing these three factors makes clear that the so-called remedial process is inadequate:

A crucial right is at stake; the chances of erroneous denial of that right is high, and the burden on

the state for a process that would reduce those chances is minimal and in any event warrants

relatively little weight in the analysis. The balance thus tips sharply in favor of a due-process

violation.

       C.      Equal Protection

       The Fourteenth Amendment’s Equal Protection Clause guarantees citizens “a

constitutionally protected right to participate in elections on an equal basis with other citizens in

the jurisdiction.” Dunn v. Blumstein, 405 U.S. 330, 336 (1972). And “[h]aving once granted the

right to vote on equal terms, the State may not, by later arbitrary and disparate treatment, value

one person’s vote over that of another.” Bush v. Gore, 531 U.S. 98, 104-105 (2000) (per curiam).




                                             17
      Case 5:24-cv-00731-M-RJ          Document 78        Filed 04/21/25      Page 23 of 32
       The selective application of new election rules that the state courts blessed violates this

binding precedent. Indeed, the North Carolina Supreme Court itself has explained that “[t]he right

to vote on equal terms is a fundamental right.” Northampton County Drainage District Number

One v. Bailey, 326 N.C. 742, 747, 392 S.E.2d 352, 356 (1990). But the Protests target only voters

in certain counties (and only votes cast in Judge Griffin’s race). In particular, his challenge to

military and overseas voters who submitted absentee ballots without accompanying photo ID was

limited to ballots cast in heavily Democratic Guilford County, even though there are military and

overseas citizens in North Carolina’s other 99 counties who also submitted absentee ballots

without either a copy of a photo ID or an ID exception form. See Griffin, 2025 WL 1021724, at

*40 (Hampson, J., dissenting). Unlike similarly situated voters from Guilford County (and, if

Judge Griffin’s mandamus petition succeeds, five other Democratic-leaning counties), the votes

of citizens in other counties will be unaffected even if they do not provide photo identification

within 30 days. Voters targeted by the Protests are thus now “at risk of being disenfranchised

while similarly situated voters are not, simply because of the county in which they reside … or

their physical location.” Id. That is “arbitrary and disparate treatment” that impermissibly

“value[s] one person’s voter over that of another,” Bush, 531 U.S. at 104-105.

       The 30-day cure process confirms these equal-protection problems. Requiring voters from

targeted counties to complete additional steps in order to have their votes counted—steps not

required of any other voters in the 2024 North Carolina Supreme Court election or in any other

race—violates the Equal Protection Clause by subjecting similarly-situated voters to drastically

different voting rules based on the losing candidate’s strategic decision to target (and thus burden)

only voters registered in counties more likely to vote for his opponent.




                                             18
     Case 5:24-cv-00731-M-RJ           Document 78        Filed 04/21/25      Page 24 of 32
II.    THE POST-ELECTION MEASURES THE NORTH CAROLINA COURTS ADOPTED VIOLATE
       THE NATIONAL VOTER REGISTRATION ACT

       Like the Constitution, the NVRA prohibits North Carolina from discarding the votes of

overseas voters who did not themselves live in North Carolina. Specifically, NVRA section 8

requires systematic (i.e., non-individualized) challenges to voters’ registration to be brought at

least 90 days before the relevant election, providing that: “A State shall complete, not later than

90 days prior to the date of a primary or general election for Federal office, any program the

purpose of which is to systematically remove the names of ineligible voters from the official lists

of eligible voters.” 52 U.S.C. §20507(c)(2)(A). The purpose of this 90-day bar is to prohibit the

systematic removal of voters “when the risk of disfranchising eligible voters is the greatest,” and

targeted voters cannot “correct the State’s errors in time to vote.” Arcia v. Florida Secretary of

State, 772 F.3d 1335, 1346 (11th Cir. 2014).3

       Applying the 90-day bar, a judge in this district held in one case that North Carolina county

boards of elections violated the NVRA when they systematically removed voters from the voting

rolls within 90 days of a federal election, even though the efforts to remove the voters were

motivated by evidence that the voters no longer lived at their address. See North Carolina State

Conference of NAACP v. Bipartisan Board of Elections and Ethics Enforcement, 2018 WL

3748172, at *5-10 (M.D.N.C. Aug. 7, 2018). The judge enjoined state officials both from

continuing to remove the voters “without individualized inquiry as to the circumstances of each

voter in the 90 days preceding a federal election” and from “holding hearings or taking any other


3
  Although section 8 refers to elections for federal office, it applies here because “North Carolina
has a unified registration system for both state and federal elections, and thus is bound by the
provisions” of federal law. Republican National Committee v. NCSBE, 120 F.4th 390, 401-402
(4th Cir. 2024). Specifically, the NCSBE has acknowledged that it maintains “the same rules for
registration for voters in state and federal elections,” Ex.B to Second Am. Compl. (Dkt.5:24-cv-
699, D.E.35-2 at 27). Indeed, this dispute concerns votes cast in the November 2024 elections
during which voters elected federal as well as state officials.

                                             19
      Case 5:24-cv-00731-M-RJ          Document 78        Filed 04/21/25      Page 25 of 32
action(s) to process challenges” designed to facilitate systematic removal. Id. at *12. Likewise

here, retroactively declaring voters improperly registered—and discarding their votes—would

violate the 90-day ban.

        It is no answer to say that there is no violation because votes can be discarded without

formally removing the voters from the rolls. The discarding of registered voters’ ballots is

tantamount to removal—“a distinction without a difference,” Majority Forward v. Ben Hill County

Board of Elections, 512 F.Supp.3d 1354, 1368 (M.D. Ga. 2021)—and Congress could not have

intended to permit such an end-run around the NVRA’s protections. Nor is it an answer to say

that section 8 applies only to the 90 days before an election, whereas the election at issue here has

now passed. That too would circumvent the statute’s manifest purpose of preventing states from

using last-minute removals from the rolls to deny people their right to vote. Systematic post-

election discarding of ballots cast by voters on state voter rolls has precisely the same effect.

        The NCSBE’s proposed notice of remedial efforts fails to remedy the NVRA problem here:

The Board intends to gather a list of “challenged overseas voters who are identified as having

never resided in North Carolina” and “retrieve their ballots for further action.” D.E.61 at 7. And

unless this Court instructs the NCSBE otherwise, those ballots will be “discounted” pursuant to

the North Carolina Supreme Court decision, id., meaning these voters will effectively be

retroactively removed from the voting rolls, in violation of the NVRA.

III.    INJUNCTIVE RELIEF IS WARRANTED

        To prevent the flagrant federal-law violations just discussed, this Court should permanently

enjoin the NCSBE from (1) excluding votes by based on any of Judge Griffin’s Protests, (2)

requiring any voter targeted by one or both Protests to “cure” a purportedly defective ballot in

order to have it be counted, or (3) certifying the election insofar as the results are altered as a result

of the Protests. Such an injunction is warranted because otherwise NCDP will suffer irreparable


                                               20
       Case 5:24-cv-00731-M-RJ           Document 78         Filed 04/21/25       Page 26 of 32
harm that cannot be compensated through remedies available at law, and the balance of hardships

and public interest overwhelmingly favor an injunction.

       A.      NCDP Will Suffer Irreparable Harm Absent Relief

       As explained, the state appellate courts have directed the Board to identify and discard

votes in the first category of Protests (which includes approximately 260 votes). See Lawson Supp.

Decl. ¶¶23, 29. And approximately 1,400 additional military and overseas voters—more if Judge

Griffin’s mandamus petition is granted—will have their votes discarded unless they can provide

photo identification within 30 calendar days from the date the notice is mailed (or unless Guilford

county independently determines that they were listed in error). Id. ¶¶11, 36. The denial of a

fundamental constitutional right—and certainly the denial of what is perhaps the most important

and fundamental right of all, see supra p.9—“unquestionably constitutes irreparable injury.” Elrod

v. Burns, 427 U.S. 347, 373 (1976) (lead opinion) (citing New York Times Co. v. United States,

403 U.S. 713 (1971)). Indeed, “[c]ourts routinely deem restrictions on fundamental voting rights

irreparable injury.” League of Women Voters of North Carolina v. North Carolina, 769 F.3d 224,

247 (4th Cir. 2014) (collecting cases).

       This infringement on voting rights irreparably harms NCDP—a membership organization

that aims to elect Democrats in North Carolina by supporting candidates and ensuring that all

voters can cast ballots and have their votes counted. Second Am. Compl. ¶¶22-23 (Dkt.5:24-cv-

699, D.E.35); Lawson Supp. Decl. ¶¶3, 24. NCDP members will suffer the harm of having their

votes discarded and/or being subjected to an unlawful cure process (targeted at strategically

selected Democratic counties), and NCDP’s candidate for associate justice may have the election

and seat she won stolen from her. These harms are irreparable because once an election comes

and goes, “there can be no do-over and no redress.” League of Women Voters, 769 F.3d at 247.




                                                21
     Case 5:24-cv-00731-M-RJ              Document 78     Filed 04/21/25     Page 27 of 32
The injury to NCDP members—and hence to NCDP—is “real and completely irreparable if

nothing is done to enjoin” unlawful state action. Id.

       NCDP must also now devote limited time and resources to contact voters and help them

participate in the cure process. Lawson Supp. Decl. ¶¶19, 22. That independently constitutes

irreparable harm. See Rum Creek Coal Sales, Inc. v. Caperton, 926 F.2d 353, 361 (4th Cir. 1991).

That harm is especially pronounced because the voters reside abroad and/or on bases where NCDP

cannot go door to door or easily phone bank, requiring NCDP to engage in non-traditional (and

almost certainly more expensive) methods of research and outreach. Lawson Supp. Decl. ¶22.

       None of these harms can be adequately compensated by any remedy at law; only injunctive

relief can prevent voters from being subjected to the cure process and having their votes excluded,

and ensure that NCDP’s candidate is not deprived of the seat she won.

       B.      The Balance Of Hardships And Public Interest Favor An Injunction

       The balance of hardships and public interest “merge when the Government is the opposing

party.” Nken v. Holder, 556 U.S. 418, 435 (2009); see United States v. Klamath Drainage Dist.,

2025 WL 262346, at *2 (9th Cir. Jan. 22, 2025) (applying this element of Nken to permanent

injunctions). That merged factor favors an injunction here.

       As explained, granting an injunction would prevent the state from inflicting the harm of

disenfranchising selectively-targeted voters (and/or burdening them with an unlawful cure

process), including military servicemembers and their families. It would also prevent the state

from depriving Justice Riggs of the seat she lawfully won, overriding the will of the voters.

Nothing remotely balances, let alone outweighs, these harms. Indeed, as the Fourth Circuit has

explained, the state “is in no way harmed by issuance of an injunction that prevents the state from




                                             22
     Case 5:24-cv-00731-M-RJ           Document 78       Filed 04/21/25      Page 28 of 32
enforcing unconstitutional restrictions.” Legend Night Club v. Miller, 637 F.3d 291, 302-303 (4th

Cir. 2011).

       The public, moreover, has a “strong interest in exercising the fundamental political right to

vote,” Purcell, 549 U.S. at 4 (quotation marks omitted)—which includes the right to have one’s

vote counted, see Reynolds, 377 U.S. at 554. That interest is best served by “permitting as many

qualified voters to vote as possible” (and, again, to have their votes counted). Obama for America

v. Husted, 697 F.3d 423, 437 (6th Cir. 2012). Indeed, the public’s interest in “electoral integrity

is enhanced, not diminished, when all eligible voters are allowed to exercise their right to vote free

from interference and burden unnecessarily imposed by others.” North Carolina State Conference

of NAACP v. Cooper, 430 F.Supp.3d 15, 53 (M.D.N.C. 2019). Conversely, discarding votes cast

in reliance on then-current state law long after an election (whether with or without first subjecting

voters to an unlawful cure process)—and potentially reversing the results of that election—

undermines the public’s interest in election integrity and stability.

       That conclusion is borne out by the public alarm over Judge Griffin’s and the state courts’

actions. Scores of public-interest groups, including at least one representing veterans and overseas

U.S.-citizen families, have expressed the toll that this retroactive disenfranchisement would

impose on both overseas voters and the public’s trust in elections. E.g., Brief of Secure Families

Initiative and Certain Members of Count Every Hero, Griffin, No. 24CV040620-910 (Wake Cnty.

Sup. Ct. Feb. 3, 2025), https://tinyurl.com/4f8798pd. And a bipartisan group of over 200 North

Carolina jurists—including former state supreme court justices—and senior state government

officials and lawyers have publicly described the Protests as “a threat to the public’s faith in” state

government and accordingly urged Judge Griffin to abandon his attempt to thwart the will of the

people. See Letter to Judge Jefferson Griffin (Mar. 18, 2025), https://tinyurl.com/4xpk7ar7. Other




                                              23
      Case 5:24-cv-00731-M-RJ           Document 78         Filed 04/21/25      Page 29 of 32
commentators, meanwhile, have emphasized that overturning the election by changing the rules

after the fact would embolden other candidates to adopt Judge Griffin’s playbook, setting a

dangerous precedent and imperiling the peaceful transition of power. See, e.g., Bonner, A

Republican-Led Group Is Running Ads in NC Opposing the GOP Attempt to Throw out Ballots,

NC Newsline (Jan. 24, 2025), https://tinyurl.com/47kkmmfw; Holder, The Courts Must Stop This

Judge      From      Stealing     an     Election,      N.Y.     Times       (Feb.    6,    2025),

https://www.nytimes.com/2025/02/06/opinion/north-carolina-supreme-court.html;         Blake,   The

Gravity of a GOP Election Challenge in N.C.: ‘Invites Incredible Mischief’, Wash. Post (Jan. 8,

2025),        https://www.washingtonpost.com/politics/2025/01/08/gop-election-challenge-north-

carolina/; Clark, A North Carolina Supreme Court Candidate’s Bid to Overturn His Loss Is Based

on   Theory     Election   Deniers     Deemed        Extreme,   ProPublica    (Dec.   23,   2024),

https://www.propublica.org/article/jefferson-griffin-north-carolina-supreme-court-challenge-

election-integrity-network. Preventing such a regime is assuredly in the public interest.

                                        CONCLUSION

         The Court should issue a permanent injunction and declaratory relief as requested in

NCDP’s second amended complaint, or effect equivalent relief by exercising federal jurisdiction

over and rejecting—on federal-law grounds—Judge Griffin’s petitions for judicial review of the

NCSBE’s order denying the first and second categories of Protests.




                                             24
     Case 5:24-cv-00731-M-RJ           Document 78         Filed 04/21/25     Page 30 of 32
April 21, 2025                                Respectfully submitted,



                                              /s/ Shana L. Fulton
                    *
SETH P. WAXMAN                                SHANA L. FULTON
DANIEL S. VOLCHOK*                            N.C. Bar No. 27836
CHRISTOPHER E. BABBITT*                       WILLIAM A. ROBERTSON
JANE E. KESSNER*                              N.C. Bar No. 53589
NITISHA BARONIA*                              JAMES W. WHALEN
ANN E. HIMES*                                 N.C. Bar No. 58477
WILMER CUTLER PICKERING                       BROOKS, PIERCE, MCLENDON,
   HALE AND DORR LLP                             HUMPHREY & LEONARD, LLP
2100 Pennsylvania Avenue N.W.                 150 Fayetteville Street, Suite 1700
Washington, D.C. 20037                        Raleigh, N.C. 27601
Phone: (202) 663-6000                         Phone: (919) 839-0300
Fax: (202) 663-6363                           Fax: (919) 839-0304
seth.waxman@wilmerhale.com                    sfulton@brookspierce.com
daniel.volchok@wilmerhale.com                 wrobertson@brookspierce.com
christopher.babbitt@wilmerhale.com            jwhalen@brookspierce.com
jane.kessner@wilmerhale.com
nitisha.baronia@wilmerhale.com
annie.himes@wilmerhale.com
*
    Local Rule 83.1(e) special appearance




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       Case 5:24-cv-00731-M-RJ        Document 78    Filed 04/21/25     Page 31 of 32
                              CERTIFICATE OF SERVICE

      On this 21st day of April, 2025, I electronically filed the foregoing document using the

court’s CM/ECF system.


                                                /s/ Shana L. Fulton
                                                Shana L. Fulton




     Case 5:24-cv-00731-M-RJ         Document 78       Filed 04/21/25      Page 32 of 32
